          Case 23-16847                     Doc 14            Filed 12/20/23 Entered 12/20/23 23:12:07                                Desc Imaged
                                                             Certificate of Notice Page 1 of 4
Information to identify the case:

Debtor 1:
                      Jerry B. Posey                                             Social Security number or ITIN:   xxx−xx−4868
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:                                                                        Social Security number or ITIN: _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:        Northern District of Illinois             Date case filed for chapter:        7     12/16/23

Case number:23−16847
Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Jerry B. Posey

2.        All other names used in the
          last 8 years

3.      Address                                  7347 Woodward Ave
                                                 Apt 312
                                                 Woodridge, IL 60517

4.      Debtor's attorney                        Vaughn A White                                       Contact phone 312−888−0131
                                                 Vw Law LLC
        Name and address                         1755 Park St                                         Email: vaughn@vaughnwhite.com
                                                 Suite 200
                                                 Naperville, IL 60563

5.      Bankruptcy trustee                       Frank J Kokoszka                                     Contact phone 312−443−9600
                                                 Kokoszka & Janczur, P.C.
        Name and address                         19 South LaSalle                                     Email: trustee@k−jlaw.com
                                                 Suite 1201
                                                 Chicago, IL 60603−1419
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
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                                                             Certificate of Notice Page 2 of 4
Debtor Jerry B. Posey                                                                                                                Case number 23−16847


6. Bankruptcy clerk's office                  Eastern Division                                                        Hours open:
                                              219 S Dearborn                                                          8:30 a.m. until 4:30 p.m. except
    Documents in this case may be filed at    7th Floor                                                               Saturdays, Sundays and legal
    this address. You may inspect all records Chicago, IL 60604                                                       holidays.
    filed in this case at this office or online at
    https://pacer.uscourts.gov.
                                                                                                                      Contact phone 1−866−222−8029

                                                                                                                      Date: 12/18/23

7. Meeting of creditors                                                                                               Location:

    Debtors must attend the meeting to be            January 16, 2024 at 11:30 AM                                     Zoom video meeting. Go to
    questioned under oath. In a joint case,                                                                           Zoom.us/join, Enter Meeting ID
    both spouses must attend. Creditors may
    attend, but are not required to do so.           The meeting may be continued or adjourned to a                   682 668 2897, and Passcode
                                                     later date. If so, the date will be on the court                 9254024265, OR call
                                                     docket.                                                          1−872−201−1823

                                                                                                                      For additional meeting information, go to
                                                                                                                      www.justice.gov/ust/moc .


8. Presumption of abuse                              The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                         Filing deadline: 3/18/24
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                     The law permits debtors to keep certain property as exempt.      conclusion of the meeting of creditors
                                                     If you believe that the law does not authorize an exemption
                                                     claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a
                                                     proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless       will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                   deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                     not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                     exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                     that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                     receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                     page 2
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                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 23-16847-JSB
Jerry B. Posey                                                                                                         Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 18, 2023                                               Form ID: 309A                                                             Total Noticed: 19
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 20, 2023:
Recip ID                 Recipient Name and Address
db                     + Jerry B. Posey, 7347 Woodward Ave, Apt 312, Woodridge, IL 60517-2553
30548872               + Morgan Properties, 7499 Woodward Ave, Woodridge, IL 60517-2613
30548876               + The Cuforall, 1811 Eastland Dr, Bloomington, IL 61704-3530

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: vaughn@vaughnwhite.com
                                                                                        Dec 18 2023 22:52:00      Vaughn A White, Vw Law LLC, 1755 Park St,
                                                                                                                  Suite 200, Naperville, IL 60563
tr                        Email/Text: frank.kokoszka@txitrustee.com
                                                                                        Dec 18 2023 22:52:00      Frank J Kokoszka, Kokoszka & Janczur, P.C., 19
                                                                                                                  South LaSalle, Suite 1201, Chicago, IL
                                                                                                                  60603-1419
30548863               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Dec 18 2023 23:07:10      Amex, American Express, PO Box 981540, El
                                                                                                                  Paso, TX 79998-1540
30548864               + Email/Text: bk@avant.com
                                                                                        Dec 18 2023 22:53:00      Avant, Web Bank, 222 N La Salle St, Chicago, IL
                                                                                                                  60601-1003
30548865               + EDI: CAPITALONE.COM
                                                                                        Dec 19 2023 03:37:00      Capital One, PO Box 30285, Salt Lake City, UT
                                                                                                                  84130-0285
30548866               + EDI: CITICORP
                                                                                        Dec 19 2023 03:37:00      Citibank, PO Box 790040, Saint Louis, MO
                                                                                                                  63179-0040
30548867               + EDI: WFNNB.COM
                                                                                        Dec 19 2023 03:37:00      Comenity Capital Bank, PO Box 183003,
                                                                                                                  Columbus, OH 43218-3003
30548868               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Dec 18 2023 23:06:33      Credit One Bank, 6801 S Cimarron Rd, Las Vegas,
                                                                                                                  NV 89113-2273
30548871                  Email/Text: ml-ebn@missionlane.com
                                                                                        Dec 18 2023 22:52:00      Mission Lane LLC, PO Box 105286, PO Box
                                                                                                                  105286, Atlanta, GA 30348
30548869               + Email/Text: bankruptcy@marinerfinance.com
                                                                                        Dec 18 2023 22:52:00      Mariner Finance, 8211 Town Center Dr,
                                                                                                                  Nottingham, MD 21236-5904
30548873               + Email/Text: bankruptcy@regionalmanagement.com
                                                                                        Dec 18 2023 22:52:00      Regional Finance, 979 Batesville Road, Greer, SC
                                                                                                                  29651-6819
30548875               + EDI: SYNC
                                                                                        Dec 19 2023 03:37:00      Syncb, ccdstr, PO Box 965060, Orlando, FL
                                                                                                                  32896-5060
30548874               + EDI: SYNC
                                                                                        Dec 19 2023 03:37:00      Syncb, Car Care Jiffy Lube, PO Box 965060,
                                                                                                                  Orlando, FL 32896-5060
30548877               + Email/Text: TFS_Agency_Bankruptcy@toyota.com
                                                                                        Dec 18 2023 22:52:00      Toyota Financial Services, PO Box 259001, Plano,
                                                                                                                  TX 75025-9001
30548878                  Email/Text: bknotice@upgrade.com
                                                                                        Dec 18 2023 22:52:00      Upgrade, Inc., 275 Battery St, San Francisco, CA
                                                                                                                  94111
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District/off: 0752-1                                               User: admin                                                            Page 2 of 2
Date Rcvd: Dec 18, 2023                                            Form ID: 309A                                                        Total Noticed: 19
30548879              + Email/Text: ebankruptcy@woodforest.com
                                                                                   Dec 18 2023 22:53:00     Woodforest National Bank, PO Box 7889, Spring,
                                                                                                            TX 77387-7889

TOTAL: 16


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
30548870                        Mercury, Fbt, PO Box 84064

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 20, 2023                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 18, 2023 at the address(es) listed
below:
Name                             Email Address
Frank J Kokoszka
                                 trustee@k-jlaw.com ecf.alert+kokoszka@titlexi.com

Patrick S Layng
                                 USTPRegion11.ES.ECF@usdoj.gov

Vaughn A White
                                 on behalf of Debtor 1 Jerry B. Posey vaughn@vaughnwhite.com
                                 vaughn@vaughnwhite.com;paralegal@vaughnwhite.com;VWLAWLLC@jubileebk.net


TOTAL: 3
